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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

KATHERINE BERNHARDT,                           )
                                               )
                Plaintiff,                     )       Case No. 4:21-CV-00870
                                               )
v.                                             )       JURY TRIAL DEMANDED
                                               )
CITY OF ST. LOUIS,                             )
                                               )
                Defendant.                     )

                  DEFENDANT CITY OF ST. LOUIS’S MOTION TO DISMISS

        COMES NOW Defendant City of St. Louis (“City”), pursuant to Federal Rule of Civil

Procedure 12(b)(6), and hereby requests this Court dismiss this action against it for failure to state

a claim upon which relief may be granted, and in support thereof states as follows:

     1. Plaintiff Katherine Bernhardt (“Plaintiff”) brings this six-count complaint against City

        after it painted over graffiti on her property in July 2020. (Doc. 1).

     2. Specifically, Plaintiff brings four claims under 42 U.S.C. § 1983, alleging City’s graffiti

        ordinance (Ordinance 66934, codified as St. Louis, Mo. Mun. Code § 15.77.030, violates

        her First Amendment right to free speech and expressive conduct and her Fourteenth

        Amendment due process rights. Plaintiff also alleges that City’s action violated her rights

        under the Visual Arts Rights Act of 1990, and further alleges a Missouri state law claim

        for tortious injury to property.

     3. Each of Plaintiff’s claims fails to state a claim for which relief may be granted.

     4. City submits herewith a memorandum in support of its motion, which sets out the relevant

        arguments and citations to authority on which City relies.




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       WHEREFORE, City prays the Court grant its Motion to Dismiss with prejudice, and for

any further relief the Court deems just and reasonable.



                                                     Respectfully submitted,
                                                     MATT MOAK
                                                     CITY COUNSELOR

                                                     /s/ Abby Duncan
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                                                     Attorneys for Defendant City




                                CERTIFICATE OF SERVICE

       I hereby certify the foregoing was electronically filed on September 17, 2021, with the
Court for service by means of Notice of Electronic Filing upon all attorneys of record.

                                                                                /s/ Abby Duncan




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